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           EXHIBIT 85
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1                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF GEORGIA
2                                    ATLANTA DIVISION
3           DONNA CURLING, ET AL.,                 )
                                                   )
4                 Plaintiffs,                      )
                                                   )
5           vs.                                    )      CIVIL ACTION NO.
                                                   )
6           BRAD RAFFENSPERGER, ET                 )      1:17-CV-2989-AT
            AL,                                    )
7                                                  )
                  Defendants.                      )
8
9
10
11
12
13            VIDEOTAPED 30(b)(6) DEPOSITION OF OFFICE OF THE
                                    SECRETARY OF STATE
14                       (through William "Chris" Harvey)
15                      (Taken by the Curling Plaintiffs)
16                                   January 28, 2022
17                                        8:40 a.m.
18
19
20
21
22
23
24
25           Reported by:         Debra M. Druzisky, CCR-B-1848

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1             Q.    Okay.     So let me jump to the topics.                And
2       you were designated on two topics, topics 12 and
3       18.    Do you see topic 12 up here?
4             A.    I do.
5             Q.    And it's:
6                   "Communications with the U.S.
7              Election Assistance Commission
8              regarding any software changes
9              involving Georgia's current election
10             system or otherwise relating to any
11             actual or contemplated request for
12             E.A.C. approval for any aspect of
13             Georgia's current election system."
14                  And am I right that you're designated to
15      testify on behalf of the Secretary's office on that
16      topic today?
17            A.    That's correct.
18            Q.    What did you do to prepare yourself to
19      testify on that topic?
20            A.    I spoke with counsel and just went through
21      my memory and recollection about communications
22      with the E.A.C.
23            Q.    Did you speak with anyone other than
24      counsel for this topic?
25            A.    No.

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1       any differences.
2            Q.     If you wanted to learn the details of what
3       was done in that examination, who would you ask?
4            A.     I'd probably ask Jordan Fuchs.
5            Q.     And do you know, for that examination, did
6       Pro V&V look at the hash values on the equipment?
7                   MR. RUSSO:       Object.       He's testified
8            he wasn't involved and didn't know
9            anything about it.
10                  MR. CROSS:       If he doesn't know, he
11           can say he doesn't know.
12      BY MR. CROSS:
13           Q.     If you don't know --
14           A.     I don't know.         I don't know exactly what
15      they did.
16           Q.     Okay.     All right.        That's fine.        I just
17      wanted to see if there was any details you had.
18                  Okay.     To the software change in the fall
19      of 2020 we mentioned before, did the E.A.C. express
20      any concerns about that?
21           A.     Not that I'm aware of.
22           Q.     Okay.     All right.        If you can scroll down
23      to topic 18.        It's on -- oh, there are no page
24      numbers on this.         Sorry.      It's the last topic in
25      Exhibit 1, and just let me know if you need help.

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1            A.     Okay.
2            Q.     Do you have that in front of you,
3       Mr. Harvey?
4            A.     I do.
5            Q.     Okay.     And do you see the topic here is,
6       the Secretary's office -- "your" refers to the
7       Secretary's office:
8                   [As read]       "The Secretary's
9             office's process for preserving
10            information within your possession,
11            custody or control potentially
12            relevant for this matter, including
13            any communications with counties or
14            other entities or individuals
15            regarding the same."
16                  Do you see that?
17           A.     Yes, sir, I do.
18           Q.     And do you understand you were designated
19      to testify on that topic as well?
20           A.     Yes.
21           Q.     Okay.     What did you do to prepare for that
22      topic?
23           A.     I spoke with counsel.             I reviewed a couple
24      of E-mails on this topic and sort of searched my
25      memory for any relevant information.

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1       statements or evidence about exactly what had gone
2       on if it was a significant issue.
3            Q.     So you respond to Ms. Watson in this
4       E-mail:
5                   "10-4, I assume you're
6             investigating."
7                   Do you see that?
8            A.     Yes.
9            Q.     And was there an investigation done of the
10      concern that was raised by Laura Jones here on
11      November 5th of 2020?
12           A.     I don't know.         I assume there -- I assume
13      there was.      This is certainly the kind of thing
14      that would have risen to the level of an
15      investigation.
16           Q.     Who would you ask if you wanted to know
17      whether there was an investigation done and what
18      the outcome was?
19           A.     Well, now I'd ask the current -- I think
20      it's the interim investigator.                His name is James
21      Callaway.     Frances Watson has moved on.                 She's no
22      longer there.       So I would ask Interim Chief
23      Investigator Callaway to -- he would be able to
24      give the status of any investigations.
25           Q.     When --

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1            A.     It would be in the investigations
2       division.
3            Q.     Do you know whether any steps were made to
4       preserve and collect documents from the
5       investigations division for this case?
6            A.     I know that the investigative files are
7       kept for I think either five or seven years as just
8       a normal -- in the normal course of business.                      I
9       don't know specifically if attempts were made to
10      get them or not or -- as part of discovery.
11           Q.     If you look at the concern raised here by
12      Laura Jones on November 5th, 2020, there are a
13      number of things that she points out here, but one
14      of the things she points out is that they used
15      election equipment where the election database
16      doors that had been opened and seals had been
17      broken.
18                  Do you see that?
19           A.     I know that she said the doors were open.
20      Let's see.      Well, she says that:
21                  "...we did use all the other
22            machines that had the election
23            database door open."
24                  I don't think she says the seals were
25      broken.     But I guess if the doors are open, then --

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1            Q.      Yeah.     If you look at the third line, do
2       you see where she writes -- well, we can start at
3       the beginning so you've got the whole context.                      She
4       says:
5                    "When we opened the large cabinets
6               containing the voting machines, we
7               discovered that most of the voting
8               machines' 'election database' doors
9               were wide open and not secured with a
10              zip tie" --
11           A.      Right.
12           Q.      -- "with serial" -- she goes --
13           A.      I see that.
14           Q.      Yeah.     She goes on:
15                   "Seals were already broken or a
16              zip tie was put on but was not put
17              through the door."
18                   Do you see that?
19           A.      I do.
20           Q.      You also indicate --
21                   THE VIDEOGRAPHER:           Sorry.      I'm sorry,
22           Mr. Cross.        There's something -- this is
23           the videographer.           There's something a
24           little weird going on with the audio.
25                   So if you could --

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1                   MR. CROSS:       With Mr. Harvey?
2                   THE VIDEOGRAPHER:           I don't know if
3            it's coming from Mr. Harvey or from your
4            end, but --
5                   MR. CROSS:       Oh.
6                   THE VIDEOGRAPHER:           -- if you guys
7            could just give each other maybe a half a
8            beat between questions and answers, maybe
9            that'll help.        I'm not sure.          But there's
10           some kind of interference.
11                  MR. CROSS:       Okay.
12      BY MR. CROSS:
13           Q.     Okay.     Mr. Harvey, do you see that she
14      indicates I believe one of the machines -- well, to
15      be precise, she says:
16                  [As read]       "One of our machines
17            did show one ballot had been cast on
18            it even though the machines were
19            supposed to show a zero balance at
20            that point."
21                  Do you see that?
22           A.     Right.     And then she goes on to say:
23                  "We did not use this machine..."
24           Q.     Right.     That one she did not use.
25                  Is it fair to say that, using voting

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1       machines in an election where the election database
2       doors were open and seals were broken before the
3       election began, that that would not comply with
4       state policies?
5             A.     I think the regulation is that, if there
6       is some type of discrepancy, either with a seal or
7       some concern, it has to be essentially -- I'm not
8       sure what the word would be.                It has to be resolved
9       or it has to be sort of examined and determined if
10      that's an issue or if that's a significant problem.
11      If you can't determine that it's good, you should
12      put it aside.
13                   But I think there is -- I think there is a
14      provision in either the law or the S.E.B. rules
15      that does put the onus on the election folks to
16      resolve or, you know, or satisfy themselves that
17      that is good to use before you use it.
18            Q.     Do you know whether any analysis was done
19      of the machines described here after this complaint
20      came in to determine whether they had been
21      compromised or were otherwise unreliable for an
22      election?
23            A.     I don't know.
24            Q.     Who would you ask?
25            A.     I would ask either the Secretary of State

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1       investigator who did this or I would ask Fulton
2       County.
3             Q.      All right.       Grab the next exhibit, if you
4       would, please, which is Exhibit 6.
5                                     (Whereupon, Plaintiff's
6                                      Exhibit 6 was marked for
7                                      identification.)
8                     THE WITNESS:        Yeah, let me refresh
9             here.
10      BY MR. CROSS:
11            Q.      Okay.
12            A.      Okay.     I've got it.
13            Q.      Okay.     Do you see that Exhibit 6 is an
14      E-mail that you received from David Worley on
15      October 10th, 2020?
16            A.      Yes.
17            Q.      Who is David Worley?
18            A.      David Worley at the time was the
19      democratic representative to the -- appointee to
20      the State Election Board.
21            Q.      What organization was he with at this
22      time?
23            A.      Well, he was the Democratic Party
24      representative, and he was a private attorney.                          I
25      don't know if that answers your question.

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1       on November 9, 2020, the description of the
2       violation is "many voting machines unlocked during
3       the day."
4                    Do you see that?
5              A.    Yes.
6              Q.    And the location is the Hartwell polling
7       place library.         Do you see that?
8              A.    Yes.
9              Q.    And there's a Twitter link here.                  And if
10      you read the whole context of the E-mail, you'll
11      see that whoever sent this in put up photos of
12      voting machines that were apparently, according to
13      this person, unlocked during the day.
14                   Do you see that?
15             A.    I see that.
16             Q.    Do you know whether there was an
17      investigation done in this situation?
18             A.    I don't know.         But again, this is one that
19      I would certainly expect an investigation to have
20      been done.
21             Q.    If you wanted to review any -- review the
22      investigation file, any report, and understand what
23      was done and what the findings were, who would you
24      ask?
25             A.    The current acting chief, Mr. Callaway.

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1       my -- I -- look at my voting history, I think you'd
2       find I do it about 50/50.
3             Q.      Okay.    When you voted on the B.M.D., is it
4       fair to say that you weren't able to read the Q.R.
5       code on your ballot to determine how that Q.R. code
6       was getting tabulated?             Is that right?
7             A.      That's correct.         I -- but I did see the
8       print-out below it of what my choices were.
9             Q.      Okay.    But you understand that the human
10      readable portion of your ballot does not count in
11      any election in terms of what gets tabulated;
12      right?
13                    MR. RUSSO:      Object.       Objection to
14            form.
15                    THE WITNESS:       I would, while I would
16            generally agree, I believe, and I'd have
17            to go back and look at the code, I think
18            for -- if there's a recount or something
19            like that, then I think it does count.
20            So.
21                    But generally, I agree with your
22            premise.
23      BY MR. CROSS:
24            Q.      A recount in Georgia simply rescans the
25      ballots; right?

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1                    MR. RUSSO:       Objection.        Form.
2                    THE WITNESS:        It does.       But I'm,
3             again, I'm -- I can't cite exactly where
4             it is in the code, but I believe there is
5             a provision somewhere that says, if
6             there's some inconsistency, you go with
7             what's actually printed, the name that's
8             printed on the ballot.
9       BY MR. CROSS:
10            Q.     And in order to examine the human readable
11      portion for tabulation purposes, that can occur
12      only in an audit that's authorized by the Secretary
13      of State; is that right?
14                   MR. RUSSO:       Objection to form.
15                   THE WITNESS:        Again, I -- I'm not
16            sure about that.          Again, I think there may
17            be some provision that, if there's some
18            type of dispute about a vote, you go with
19            the human readable form.
20      BY MR. CROSS:
21            Q.     Okay.     As a voter, would you prefer to
22      cast a vote that's scanning human readable text for
23      the tabulation rather than a Q.R. code?
24            A.     Probably.
25            Q.     Because then you could actually, you could

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1       read what's being tabulated in the first instance
2       yourself; right?
3             A.     Well, yes.       Assuming that the scanner is
4       set up and is secure and is tabulating it in
5       accordance with that.
6             Q.     Right.     Are you aware that -- well, let me
7       ask a threshold question.              Are you familiar with an
8       election security expert named Alex Halderman?
9             A.     Yes.
10            Q.     In fact, you've, I think you've testified
11      at hearings in this case with -- where you both
12      testified; right?
13            A.     Yes.     Although I've not seen -- I wasn't
14      in the room when he testified, but I'm certainly
15      familiar -- certainly familiar with his reputation
16      and his work.
17            Q.     Okay.     And what are you familiar with
18      regarding his reputation and work?
19            A.     That he's considered an expert in security
20      sys -- or election systems and security and that
21      he's been -- I guess Judge Totenberg, I don't know
22      what the designation is, but essentially designated
23      him or allowed him unprecedented access to check
24      the Georgia voting system.
25                   So I mean, obviously he's got credentials

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1       to do this stuff.
2             Q.     Okay.     And you anticipated where I was
3       going.     You mentioned that he got access to
4       election equipment in Georgia.                 Are you aware that
5       he prepared a report of nearly a hundred pages on
6       that analysis that was provided to the State's
7       lawyers on July 1st of last year?
8             A.     I just read that in the A.J.C. I think
9       yesterday or the day before.
10            Q.     So you did not know that before the A.J.C.
11      article?
12            A.     No.     And I, remember, I had -- I
13      essentially left the Secretary's office at the end
14      of May.
15            Q.     Okay.     So fair to say you have not read
16      that report?
17            A.     That's correct.          I have not.
18            Q.     Okay.     Would you expect the Secretary's
19      office to address any significant vulnerabilities
20      with the election system that Dr. Halderman
21      identified in that report?
22            A.     I would expect the Secretary of State's
23      office to address any vulnerabilities from any
24      source in an evaluation of, you know, considering
25      all the different factors that come in.

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1             Q.     Why?
2             A.     Well, because if there's a security issue,
3       it needs to be -- if you can confirm that it is an
4       issue, you'd want to -- you'd want to fix it.                       You
5       may get reports that are -- that are not security
6       issues or false reports that you want to be able
7       to, you know, counter with a fact that, hey, this
8       is a -- this is a false report or this is a -- this
9       flaw doesn't exist or whatever the case may be, I
10      think.
11                   But I would expect them to certainly
12      consider anything that would come in that would be
13      able to secure the system.
14            Q.     And is it fair to say that taking
15      reasonable measures to mitigate known
16      vulnerabilities with an election system and being
17      able to tell voters that you've done that, that
18      that helps drive voter confidence in the election
19      system?
20                   MR. RUSSO:       Objection.        Form.
21                   THE WITNESS:        Can you ask the first
22            part of that again?
23      BY MR. CROSS:
24            Q.     Sure.     Taking measures to mitigate known
25      vulnerabilities with an election system and being

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1       able to tell voters that those measures have been
2       taken, without getting into specifics, just letting
3       voters know that measures have been taken to
4       address known vulnerabilities with an election
5       system, would you expect that to help drive voter
6       confidence in that system?
7                    MR. RUSSO:       Objection to form again.
8                    THE WITNESS:        I would think it would
9             be helpful.
10      BY MR. CROSS:
11            Q.     As a voter yourself, would you have more
12      confidence in a system where known vulnerabilities
13      have been addressed or in a system where known
14      vulnerabilities have not been addressed for six
15      months or more?
16                   MR. RUSSO:       Objection to form.            Lacks
17            relevance.
18                   THE WITNESS:        I'd want issues
19            addressed.
20      BY MR. CROSS:
21            Q.     Okay.     You were still with the Secretary's
22      office in September 2020 when Dr. Halderman
23      testified in a hearing before Judge Totenberg in
24      this case; right?
25            A.     Yes, I was.

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1             Q.      And I won't get into the specifics of his
2       testimony, but just at a general level, were you
3       aware that he testified and actually did a
4       demonstration by video for the judge showing that
5       he was able to hack Georgia's B.M.D. equipment?
6                     MR. RUSSO:      Objection to form.
7                     THE WITNESS:       No, I'm not aware of
8             that.
9       BY MR. CROSS:
10            Q.      So even when you were the elections
11      director, no one informed you that Dr. Halderman in
12      the span of only three days with Fulton County's
13      B.M.D. equipment was able to hack it where it would
14      produce Q.R. codes that did not match the
15      selections on the B.M.D.?
16                    MR. RUSSO:      Objection to form.            And
17            lacks foundation.
18                    THE WITNESS:       I don't believe I -- I
19            don't believe I was aware of that.
20      BY MR. CROSS:
21            Q.      Isn't that something you would expect to
22      know as the elections director so that you could at
23      least be aware of that vulnerability in the system?
24            A.      Yeah, I would want to know that.
25            Q.      And so is it fair to say you're also not

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1       aware of any measures taken by the Secretary's
2       office or any county to address that vulnerability?
3                     MR. RUSSO:      Same objection.
4                     THE WITNESS:       I'm not aware of
5             anything that was -- that came as a result
6             of what you're saying he did.
7       BY MR. CROSS:
8             Q.      Okay.    All right.        Take a look at Exhibit
9       8, if you would, please.
10                                   (Whereupon, Plaintiff's
11                                    Exhibit 8 was marked for
12                                    identification.)
13                    MR. RUSSO:      And David, before we go
14            into this, I need to take a break in about
15            seven minutes so we can swap.                I have
16            another matter to deal with that I
17            mentioned earlier.
18                    MR. CROSS:      Do you want --
19                    MR. RUSSO:      I don't know how long --
20            yeah, I don't know how long you're going
21            to need on this exhibit.              I'm not -- my
22            computer actually hasn't even brought it
23            up yet, but.
24                    MR. CROSS:      I don't need to take
25            long.     I think we can get through this and

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1       reporting page.         But it -- but it never leaves the
2       E.M.S.      It stays on the E.M.S.             And what's on the
3       E.M.S. is the official -- the official vote.
4             Q.     Where do the counties get the U.S.B.
5       drives that they use to copy the election results
6       from the E.M.S. into the E.N.R. system?
7             A.     I think initially we sent them some U.S.B.
8       drives to do that.           I think we had -- we had talked
9       about having a procedure where we would send them a
10      new U.S.B. drive before every election and,
11      basically, have it be disposable.
12                   I don't know if they -- if they adopted
13      that.      We hadn't had any other elections before I
14      left.
15            Q.     Okay.     So before you left, the counties
16      were typically reusing the U.S.B. drives instead of
17      getting new ones from the State for each election?
18            A.     They all got new ones for -- with the new
19      system, but I couldn't -- I couldn't tell you if
20      some counties may have reused them or used old
21      systems or got -- old drives or got new drives.
22            Q.     Who would you ask if you wanted to know
23      the answer to that question?                Is that a county
24      level question?
25            A.     I think you'd have to ask each county.

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1       work with E.M.S.
2                    Now, you know, they often would have the
3       techs at their side doing it, again, in some sense
4       maybe walking them through the process or
5       confirming that they were doing the right thing.
6       But it was -- it was our expectation of the
7       counties that the counties were doing that.
8                    Now, you know, depending on how good
9       somebody was with the E.M.S. system, they may have
10      had more or less help with it from a tech.
11            Q.     Who at the state level has administrator
12      access to voting equipment in Georgia?
13            A.     Well, what -- I mean, that's a very big
14      question.      The -- as far as the local E.M.S. and
15      things like that, those would be county
16      restrictions.        So nobody at the state would have
17      access to, you know, Cobb County's E.M.S. password.
18                   We would have -- I think state employees
19      might have access to the E.N.R. system to help a
20      county, like, if they got logged out or something
21      like that.
22                   But generally speaking, the passwords and
23      the access to local election equipment are -- the
24      state election equipment that's operated by the
25      counties is a county issue that we wouldn't have.

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1                     I certainly didn't have a notebook that
2       had, you know, county passwords or anything like
3       that.       And nor do I believe anyone in the state
4       did.
5              Q.     Who has administrator access to components
6       of the election system at the state level?
7              A.     Well, I guess it depends on what
8       components you're talking about.                  For ENet it would
9       generally be I would have access.                  The assistant
10      administrator would have had access.
11                    Merritt Beaver and/or people he designated
12      in his team would have had access.                   I believe Kevin
13      Rayburn when he was the deputy would have had
14      access.       But a pretty small number of people for
15      the -- for the ENet system, and pretty much
16      everything else was local.
17                    I mean, there were -- there are no other
18      really connected networks that talk to each other.
19      I mean, the Lowndes County E.M.S. didn't talk with
20      the -- anything at the state.                It had to be -- the
21      data had to be pulled from it and sent to E.N.R.
22      for us to get it.
23                    So there wasn't -- there really weren't
24      statewide networks except for ENet.
25             Q.     Okay.    So you had passwords, you had

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1       experience as the elections director for Georgia,
2       are you aware of any effort by anyone to alter or
3       manipulate the outcome of the 2020 election in
4       Georgia?
5             A.     No.
6             Q.     Is that something that you would expect to
7       have been brought to your attention if someone at
8       the Secretary's office had learned that something
9       like that had happened?
10                   MR. MILLER:        Objection.        Calls for
11            speculation.
12                   THE WITNESS:        I would have -- I would
13            expect something like that to be brought
14            to my attention.
15      BY MR. CROSS:
16            Q.     As a voter in Georgia, is it important to
17      you that your vote is counted as you intended it to
18      be counted?
19            A.     Yes.
20            Q.     Why?
21            A.     Because that's one of my fundamental
22      rights.
23            Q.     What if the election outcome comes out the
24      way you want it but your vote had not been counted,
25      would that matter to you?

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1             A.      It would.
2             Q.      Why?
3             A.      Well, assuming that I cast my vote legally
4       and properly, each -- my vote should be a record.
5             Q.      Okay.    Are you aware of a situation where
6       election workers, when they were transmitting
7       ballots coming out of the B.M.D. system, they
8       stopped at one of the election workers' homes, one
9       of them took a shower, the ballots sat in their
10      cars in the driveway for some period of time, and
11      then they finally made it on to the county election
12      facility where those ballots were supposed to be
13      stored and the results were supposed to be
14      transmitted to the State?
15                    MR. MILLER:       Object to form.
16                    THE WITNESS:       I believe I recall
17            that.     I -- although I don't remember
18            where it was.        But that sounds -- that
19            sounds familiar.
20      BY MR. CROSS:
21            Q.      Fair to say that's not consistent with
22      State protocol or County protocol; right?
23            A.      I agree.
24            Q.      Okay.    Do you know of any efforts that
25      were taken to confirm that that incident did not

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1       affect the tabulation of the ballots in that county
2       for that election?
3                    MR. MILLER:        Objection.        Lacks
4             foundation.
5                    THE WITNESS:        I -- I'm not aware of
6             follow-up steps to that.
7       BY MR. CROSS:
8             Q.     Who would you ask if you wanted to know?
9             A.     Probably the county election director.
10            Q.     Okay.
11                   MR. CROSS:       All right.        Let's go off
12            the record.       I'm pretty close to done.
13            Let me just look at my notes real quick,
14            if that's all right, Mr. Harvey.
15                   THE WITNESS:        Sure.
16                   THE VIDEOGRAPHER:           The time is 2:10
17            p.m.    We're off the record.
18                   (Whereupon, a discussion ensued
19             off the record.)
20                   (Whereupon, there was a brief
21             recess.)
22                   THE VIDEOGRAPHER:           The time is 2:15
23            p.m.    We're on the record.
24      BY MR. CROSS:
25            Q.     Mr. Harvey, is voter confidence in an

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